                                                                                August 21, 2020
Hon. Paula Xinis
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 400
Greenbelt, MD 20770
                                                       Re:    CASA v. Wolf, 8:20-cv-2118-PX

Dear Judge Xinis:

        In response to this Court’s order, ECF No. 53, Plaintiffs submit this brief to explain that
they are entitled to summary judgment on Counts 2-4,1 and therefore the vacatur of the Asylum
EAD Rules, because they have standing and because Defendant Chad Wolf lacked authority to
issue the rules. See Bostic v. Schaefer, 760 F.3d 352, 370 (4th Cir. 2014) (summary judgment is
appropriate where “there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law”). In addition, in view of the irreparable harm that these rules impose
(harm that will increase the longer they are in effect) and likelihood of success on these counts,
Plaintiffs renew their request for a temporary postponement of the rules under a TRO or 5 U.S.C.
§ 705 pending the earlier of summary judgment or the preliminary relief initially sought.

I.     Plaintiffs Have Standing.

        All five plaintiffs assert Counts 2-4, and the Court can adjudicate those counts if any one
of them has standing. See Bostic, 760 F.3d at 370. Courts have expressed particular willingness to
review allegations of procedural injury from government actions taken by an official without legal
authority. See, e.g., L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 19-21 (D.D.C. 2020) (holding that
the redressability requirement is relaxed in procedural-rights cases and finding that asylum seekers
had standing to challenge the propriety of Cuccinelli’s appointment); see also Landry v. F.D.I.C.,
204 F.3d 1125, 1131 (D.C. Cir. 2000), cert. denied, 121 S. Ct. 298 (2000).

       First, each of the named plaintiffs has organizational standing. Defendants did not initially
dispute this in opposing preliminary relief, and CASA v. Trump, __ F.3d. __, No. 19-2222, 2020
WL 4664820 (4th Cir. Aug. 5, 2020), did not change the analysis. See Reply, ECF No. 47, at 11-
13; Supp. Br., ECF No. 54, at 2. CASA is inapposite where, as here, plaintiffs demonstrate a forced
change to their programs, such as loss in revenue. See La Clinica de la Raza v. Trump, No. 19-
CV-04980-PJH, 2020 WL 4569462, *4 (N.D. Cal. Aug. 7, 2020); see also, e.g., CASA Decl., ECF
No. 24-4, ¶¶ 33-34; Oasis Decl., ECF No. 24-7, ¶¶ 44-46.2



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  Plaintiffs are not moving for summary judgment with respect to the Appointments Clause claim
in Count 4, which Plaintiffs pled in the alternative to the statutory claims.
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  The court in La Clinica also found that organizational plaintiffs there demonstrated that, as legal
services providers, they are within the zone of interests of the immigration laws. See 2020 WL
4569462, at *7-11. This analysis is not required for standing, and “the test is not especially
demanding” in the APA context. Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.
118, 125-130 (2014) (internal quotation marks omitted). Defendants have not contested this issue
nor could they, given that Plaintiffs exist to serve asylum seekers and DHS itself identified
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        Second, Plaintiffs CASA and ASAP have associational standing, an issue that Defendants
have not disputed thus far. A membership organization has associational standing when “(a) its
members would otherwise have standing to sue in their own right; (b) the interests it seeks to
protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the relief
requested requires the participation of individual members in the lawsuit.” Hunt v. Washington
State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977); accord S. Walk at Broadlands
Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013).
The final prong of this test is met here because Plaintiffs present legal claims and request the
remedy of vacatur, obviating the need for individual-member participation in the lawsuit. See
Hunt, 432 U.S. at 343-45 (holding that associations may pursue prospective relief on behalf of
their members). That leaves the first two prongs: identifying at least one member who would have
standing, see S. Walk, 713 F.3d at 184, and showing that interests at stake here—the ability of
asylum seekers to obtain work authorization—are germane to the organization’s purpose.

       CASA satisfies these requirements. See ECF No. 24-4. CASA’s mission is to “create a
more just society by building power and improving the quality of life in low-income immigrant
communities, including those seeking asylum.” CASA Decl. ¶ 4. CASA has 100,000 members,
including asylum seekers, who pay dues and participate in the organization’s leadership and
programming. See id. ¶¶ 7-8; see also Casa de Maryland v. U.S. Dep’t of Homeland Sec., 284 F.
Supp. 3d 758, 771 (D. Md. 2018) (CASA, as “a special interest group[] directly focused on aiding
immigrants and their communities,” is a “prototypical example[]” of an organization with
associational standing), aff’d on other grounds, 924 F.3d 684 (4th Cir. 2019), cert. denied, 2020
WL 3492650 (2020). The Asylum EAD Rules will harm CASA’s mission by depriving its asylum-
seeking members of the opportunity to work to support themselves and their families, and thereby
pursue their asylum applications. CASA Decl. ¶¶ 12-13, 20-23. CASA members who will be
harmed by the rules include H.V. and M.C, both of whom will have to wait indefinitely to receive
work authorization under the new rules, id. ¶ 26.

        ASAP, too, has associational standing. See ECF No. 24-5. “ASAP’s mission is to provide
individuals who came to the Mexico-U.S. border seeking asylum with community support and
legal services.” ASAP Decl. ¶ 4. ASAP has over 4,000 members—the majority of whom are
asylum-seeking mothers—whom it screens and approves for membership. Id. ¶¶ 7-8. As ASAP
members, they receive access to ASAP’s resources and set the priorities for its systemic reform
and advocacy work. Id. ¶¶ 6-8, 12. The Asylum EAD Rules will harm ASAP’s mission by making
it more difficult for members to pursue their asylum applications. Id. ¶ 31. Individual ASAP
members who will be harmed by the rules include W.L. and N.G., who were expecting to be able
to apply for and receive their work authorization soon but will now have to wait months more to
apply and indefinitely longer to actually receive an adjudication. Id. ¶¶ 22-29.

       Courts in this district have found CASA and other membership organizations representing
immigrants to have standing in similar cases. See, e.g., Casa de Maryland, 284 F. Supp. 3d at 771;
Kravitz v. U.S. Dep’t of Commerce, 366 F. Supp. 3d 681, 733 (D. Md. 2019) (“[A] membership


organizations like Plaintiffs as parties that would bear the burden of the rules. See Reply at 12; see
also La Clinica, 2020 WL 4569462, at *7-11.
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organization and community union that seeks to build strong communities in the Rio Grande
Valley” had associational standing.); Int’l Refugee Assistance Project v. Trump, 265 F. Supp. 3d
570, 599 (D. Md. 2017) (finding associational standing for membership organizations), aff’d, 883
F.3d 233 (4th Cir. 2018). The Court should find the same here.

II.    Plaintiffs are Entitled to Summary Judgment on Counts 2-4.
       A. The Court May Advance These Counts to Summary Judgment.
       Counts 2-4 are ripe for final resolution on the merits. Under Fed. R. Civ. P. 65(a)(2), this
Court may consolidate its decision on Plaintiffs’ motion for preliminary injunction (“Mot.”, ECF
No. 23-1) with its final determination on the merits as long as the parties “receive clear and
unambiguous notice” that the court may proceed to the merits “at a time which . . . still afford[s]
[them] a full opportunity to present their respective cases.” Gellman v. State of Md., 538 F.2d 603,
604 (4th Cir. 1976); see also Grace v. D.C., 187 F. Supp. 3d 124, 151 (D.D.C. 2016) (“[W]hen the
eventual outcome on the merits is plain at the preliminary injunction stage, the judge should, after
due notice to the parties, merge the stages and enter a final judgment.” (alteration in original)).
         Here, Defendants had ample notice and opportunity to respond to Plaintiffs’ vacancies
arguments. Plaintiffs raised these very issues through comments submitted on the Broader EAD
Rule in January 2020, 85 Fed. Reg. at 38,557, and Defendants were aware of the legal problems
posed by Defendant Wolf’s service even earlier, by November 2019, when the U.S. Government
Accountability Office (“GAO”) began its months-long investigation. See Letter of Chad Mizelle
(“Mizelle Ltr.”) at 6, https://www.dhs.gov/publication/letter-dhs-office-general-counsel-gao-dhs-
succession?topics=all (last visited August 21, 2020). Defendants have also had ample notice that
the Court may advance the arguments to summary judgment: Plaintiffs from the outset have been
clear that the claims are ripe for final disposition, see Mot. at 9 n.7; Reply at 11, and the Court
itself provided notice at the August 14 hearing and gave Defendants additional time for briefing,
Tr., ECF No. 56, at 61-65. This Court is thus well within its authority to advance Plaintiffs’
vacancies claims to summary judgment.
       B. Defendants Violated the FVRA and HSA.
         Defendant Wolf’s service as purported Acting DHS Secretary violates both the time limits
prescribed by the Federal Vacancies Reform Act (“FVRA”) and the order of succession under the
Homeland Security Act (“HSA”). Mot. at 26-31; Reply at 6-11. Both of these issues are ripe for
final disposition on the current record,3 and each offers an independent reason to vacate the Asylum
EAD Rules. Plaintiffs refer the Court to our prior briefing regarding the merits of the claims, but
address two recent developments: the district court decision in La Clinica de la Raza v. Trump,
No. 19-CV-04980-PJH, 2020 WL 4569462 (N.D. Cal. Aug. 7, 2020); and DHS’s letter responding
to the GAO report, ECF No. 51-1, finding that Defendant Wolf’s purported service as Acting
Secretary violates the HSA.

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  Whether Defendant Wolf’s tenure as Acting Secretary violates the FVRA’s 210-day limit
presents a pure question of law that requires no factual development. Whether Wolf’s purported
service also violates the HSA—while not a pure question of law—similarly requires no further
factual development, as Defendants recognized at the hearing, see Tr. at 62 (“I cannot conceive of
any new facts that would have to be before the Court to decide [the vacancies issue].”).
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        1. The La Clinica Decision Reinforces Plaintiffs’ HSA Claim.
         The recent La Clinica decision supports Plaintiffs’ position that Defendant Wolf never
lawfully assumed office as the Acting Secretary under the HSA. See 2020 WL 4569462, at *14.
In that case, the court found that former Secretary Nielsen’s amendments to the order of succession
never made McAleenan her proper successor, id., meaning he could not have changed the order of
succession to make Defendant Wolf Acting Secretary under the HSA. The court concluded that
McAleenan could nevertheless validly serve as Acting Secretary if he was designated by the
President under the FVRA. Id. Defendants have not made that argument here, but even if they did,
Wolf’s tenure as Acting Secretary would still be improper: McAleenan could not have amended
the order of succession as he purported to do after the FVRA’s 210-day limit had elapsed, and
Wolf himself could not have been designated under the FVRA because his purported tenure began
more than 210 days from when the vacancy occurred. See Mot. at 28-31.
        2. DHS Did Not Rebut the GAO’s Findings that Defendant Wolf Violated the HSA.
        This week, DHS responded to the GAO’s report regarding Defendant Wolf’s unlawful
service as Acting Secretary in an eight-page letter signed by the “Senior Official Performing the
Duties of the General Counsel,” Chad Mizelle (who himself has not been Senate-confirmed as
DHS General Counsel—a position that has been vacant without any nomination for over 300 days).
DHS’s response, however, does not identify any new material facts or legal arguments regarding
Plaintiffs’ vacancies claims. The letter does not substantively address Plaintiffs’ FVRA time
limitation claims, and instead presents three readily refuted arguments about Wolf’s purported
service under the HSA.4
        First, Mizelle argued that Nielsen’s Memorandum dated April 9, 2019, amending
Delegation 00106, is a non-binding internal agency document with no legal force. Mizelle Ltr. at
5. Plaintiffs disagree with that characterization, but more importantly, it is irrelevant: Plaintiffs do
not seek to enforce the Memorandum. Rather, Plaintiffs challenge Defendant Wolf’s authority to
serve as Acting Secretary under the HSA, and it is Defendants who point to the Memorandum’s
amendments to Delegation 00106 as the operative order of succession under that statute. Indeed,
in response to Plaintiffs’ comments during the rulemaking that questioned Defendant Wolf’s
authority to issue the Broader EAD Rule, DHS cited the Memorandum as purportedly rendering
McAleenan her valid successor. 85 Fed. Reg. at 38,557. Defendants doubled down on this position
when they cited Delegation 00106 and its purported amendments to this Court to argue that
Defendant Wolf and his predecessor, McAleenan, properly assumed the office of Acting Secretary
under the HSA. See Opp’n, ECF No. 41, at 25. DHS cannot now dismiss as meaningless the
documents it relied on as the legal authority to install the Acting Secretaries. See Friends of
Buckingham v. State Air Pollution Control Bd., 947 F.3d 68, 83-84 (4th Cir. 2020) (“[C]ourts may
not accept . . . post hoc rationalizations for agency action.” (internal quotation marks omitted)).

       Second, Mizelle argued that even if Nielsen’s amendment to the orders of succession is
subject to review, the GAO should have deferred to DHS’s interpretation of that amendment.

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 The GAO responded to the letter and declined to rescind its decision finding Wolf's service
unlawful. See GAO Response, https://www.gao.gov/products/D22098 (last visited Aug. 21,
2020).

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Mizelle Ltr. at 5. However, only the agency’s “authoritative positions” that reflect the agency’s
expertise and fair and considered judgment are entitled to deference, see Kisor v. Wilkie, 139 S.
Ct. 2400, 2416-18 (2019), and DHS’s response to a GAO inquiry, much like its litigation positions,
is not entitled to such deference. See Sierra Club v. United States Dep’t of the Interior, 899 F.3d
260, 286-87 (4th Cir. 2018) (“[L]itigation positions that do not reflect an exercise of delegated
legislative authority and agency expertise . . . are not eligible for any deference.”). And, in any
event, deference is only available where there is genuine ambiguity, even after “resort[ing] to all
the standard tools of interpretation.” Kisor, 139 S. Ct. at 2414. Defendants have raised no such
ambiguity, and, there is none: by its plain terms, the Memorandum does not make McAleenan the
valid successor because it only amends Annex A, which applies in the event the Secretary is
unavailable “during a disaster or catastrophic emergency” —not when the Secretary resigns. Decl.
of Neal J. Swartz., ECF No. 41-2, Ex. 1 at 5-6; id. Ex. 2 at 7; see also Reply at 10; GAO Report at
9; GAO Response at 2.5
        Third, Mizelle argued that, regardless of the written amendment to the orders of
succession, Nielsen’s subsequent actions—including administering the oath of office to
McAleenan and announcing his position in her internal farewell email—somehow superseded
Delegation 00106.6 Mizelle Ltr, at 6. But, again, DHS made clear its view that Delegation 00106
is the authoritative order of succession under HSA § 113(g)(2) when it promulgated the Broader
EAD Rule and cited the Memorandum as the authority that made McAleenan Nielsen’s purported
successor, and McAleenan’s amendments to the Delegation as the authority for Wolf’s purported
tenure. See 85 Fed. Reg. at 38,557. The agency’s sudden about face and “post-hoc” pronouncement
that Delegation 00106 and the Memorandum are not in fact the operative order of succession under
the HSA is thus “entitled to no weight or deference.” Nat’l Elec. Mfrs. Ass’n v. U.S. Dep’t of
Energy, 654 F.3d 496, 516 n.2 (4th Cir. 2011); see also GAO Report at 9.
       C. Plaintiffs Are Entitled to a Vacatur of the Asylum EAD Rules.
         If the Court enters summary judgment in Plaintiffs’ favor on any of their vacancies claims,
the appropriate remedy is vacatur of the Asylum EAD Rules for three separate reasons. First, the
FVRA specifies the remedy for violations of its provisions: any action taken “in the performance
of any function or duty of a vacant office” by a person not lawfully filling that vacancy under the
statute, “shall have no force or effect” and “may not be ratified.” 5 U.S.C. § 3348(d)(1)-(2). A
“function or duty” of an office must be “established by statute” and “required by statute to be
performed by the applicable officer (and only that officer).” 5 U.S.C. § 3348(a)(2)(A). Defendants
have not disputed that the promulgation of the Asylum EAD Rules was a “function or duty” of the
office of the DHS Secretary. Nor could they. The Secretary is broadly vested with “[a]ll functions
of all [DHS] officers,” 6 U.S.C § 112, and the “administration and enforcement” of all laws relating
to immigration and naturalization, 8 U.S.C. § 1103(a)(1). Defendants cited that precise legal

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  DHS attempts to deny the plain text of the Memorandum by distinguishing between an “order of
succession” and a “delegation of authority.” Mizelle Ltr. at 3. But regardless of whether Nielson
intended to amend the order of succession, the plain text of the Memorandum is unambiguous: it
only amended Annex A, which applies only in the case of “disaster or catastrophic emergency.”
Swartz Decl., Ex. 1 at 6. DHS admits as much, noting that “Nielsen’s memorandum did not
expressly revoke the language” in Delegation 00106 that refers to the order of succession in the
event of the Secretary’s resignation. Mizelle Ltr. at 3.
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  As they are immaterial, Plaintiffs do not dispute these new facts not introduced in this record.
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authority when promulgating the Asylum EAD Rules. See 85 Fed. Reg. at 38,546; 85 Fed. Reg. at
37,503.7
        Second, and independently, if the Court finds that Defendant Wolf did not validly assume
the position of Acting Secretary under the HSA, that violation would also trigger the FVRA’s
mandatory sanction. FVRA § 3347(a) provides that the FVRA is the “exclusive means for
temporarily authorizing an acting official to perform the functions and duties of any office of an
Executive agency,” unless an agency-specific statute “expressly” authorizes the head of that
agency to otherwise designate an official to fulfill the functions of that office “temporarily in an
acting capacity,” 5 U.S.C. § 3347(a)(1)(A). HSA § 113(g) does just that, allowing the Secretary to
designate a further order of succession for the role of Acting Secretary. If Wolf’s tenure as
purported Acting Secretary is not lawful under § 113(g) of the HSA, however, then the FVRA
remains the exclusive authority for his service. This brings us back to Defendants’ FVRA
violations and the FVRA’s express remedy. See Br. Of Amicus Curiae Constitutional
Accountability Center (“CAC”), ECF No. 38-1, at 7; Tr. at 61.

       Finally, in addition to FVRA’s specific remedy, the APA provides for vacatur of agency
rules where the action was, as here, “in excess of statutory jurisdiction [or] authority,” 5 U.S.C.
§706(2)(C). See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1916 n.7
(2020) (finding vacatur to be an appropriate remedy in an APA case); Sierra Club v. U.S. Army
Corps of Eng’rs, 909 F.3d 635, 655 (4th Cir. 2018) (recognizing that vacatur is the presumptive
remedy under § 706). Thus, regardless of whether the requirements for the FVRA’s remedial
provision (such as the “function or duty” test) is met, the APA provides an independent ground for
voiding the rules. See SW Gen., Inc. v. N.L.R.B., 796 F.3d 67, 78, 83 (D.C. Cir. 2015) (voiding
challenged action under the APA where official was serving in violation of the FVRA but the
FVRA’s remedial provision did not apply), aff’d 137 S. Ct. 929 (2017); Hooks v. Kitsap Tenant
Support Servs., Inc., 816 F.3d 550, 564 (9th Cir. 2016); L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1,
34 (D.D.C. 2020); see also CAC Br. at 18.

III.   Plaintiffs Are Entitled to Temporary Postponement of the Rules Pending Summary
       Judgment or Preliminary Relief.

        Because summary judgment is appropriate and the rules cause ongoing irreparable harm,
Plaintiffs renew their emergency request for a postponement of the effective dates of the Asylum
EAD Rules through a TRO and/or § 705 relief pending summary judgment. Today, the Timeline
Repeal Rule took effect: DHS is no longer under an obligation to decide asylum applicants’ initial

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  Although many functions of the Secretary’s office may be delegated to other DHS officers, that
delegation authority does not immunize the Secretary from the FVRA’s prescribed remedy. See
L.M.-M., 442 F. Supp. at 31 (rejecting view that a function or duty must be non-delegable to trigger
the FVRA’s remedy under 5 U.S.C. § 3348(d)(1)); see also CAC Br. at 15. In any event, the only
other officer who could plausibly have the authority to promulgate the Asylum EAD Rules is the
USCIS Director, who is charged with “establish[ing] national immigration services policies and
priorities,” 6 U.S.C. § 271(a)(3)(D). However, there has not been a lawful USCIS Director since
June 2019, see L.M.-M., 442 F. Supp. 3d at 7, 28, and when a subcabinet office is vacant, the duties
of that office revert back to the head of the agency, 5 U.S.C. § 3348(b)(2), here—the DHS
Secretary. See CAC Br. at 15.
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EAD applications on any timeline and may reassign staff and redesign its processes—as it asserted
that it would do—accordingly. On Tuesday, August 25, the Broader EAD Rule goes into effect.

        The implementation of the rules will force Plaintiffs to change their business in a way that
will cause immediate irreparable injury and will yield broader chaos for the agency and the public.
See Mot. at 31-34; Reply at 11-14; Supp. Br. at 2. Once the Broader EAD Rules take effect, for
example, Plaintiffs providing legal services will have to file their clients’ applications for asylum
or work authorization on more complicated application forms, according to more complicated
instructions. See USCIS, www.uscis.gov/i-765 (setting out instructions for two sets of forms) (last
visited Aug. 21, 2020); USCIS, www.uscis.gov/i-589 (same) (last visited Aug. 21, 2020). They
will have to prepare additional documentation to urge the agency to exercise favorable discretion
and submit detailed information and documentation regarding their clients’ criminal and
immigration histories. See, e.g., Pangea Decl., ECF No. 24-8, ¶¶ 26-29; Centro Legal, ECF No.
24-6, ¶¶ 27-35. Asylum applicants and their advocates will also immediately face confusion about
what constitutes an “applicant-caused delay” that could jeopardize EAD eligibility. They will face
difficult decisions as a result, such as whether to submit supplemental evidence in support of their
asylum applications at the risk of having work authorization denied. See, e.g., Oasis Decl. ¶ 52.
Absent preliminary relief, even if the Court vacates the rules in short order, the harms that would
have accumulated in the interim would be irreparable—Plaintiffs would already have been forced
to change their programming and they would in fact have to spend additional resources altering
programming back to the prior status quo or potentially remedying the applications that have been
submitted while the rules were in effect (e.g., if the agency demands after the fact that EAD
applicants re-submit their applications with different forms).

        To the extent that Defendants seek in their submission today to prolong these proceedings
with additional briefing or factual submissions in advance of summary judgment, that would only
increase Plaintiffs’ need for the § 705 relief or the preliminary injunction that Plaintiffs sought in
their initial papers. Even if Defendants were to submit new legal arguments or facts in today’s
briefing, the record with respect to Plaintiffs’ request for preliminary relief is closed and
Defendants have had adequate opportunity to brief these issues. If the government requires
additional time to re-formulate its positions with respect to Counts 1-4 for summary judgment
despite having had ample opportunities to do so, see supra at 3, Plaintiffs should be protected from
irreparable harm based on the preliminary showing that Defendant Wolf lacked authority to issue
the challenged rules. The recent Fourth Circuit decision in CASA did not—and could not have—
foreclosed all options for preliminary relief in this circuit, and Plaintiffs have met the requirements
for such relief. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

        Plaintiffs therefore renew their request that the Court issue a temporary postponement of
the effective dates of the rules (through a TRO or section 705) until the earlier of summary
judgment or preliminary relief (in the form of postponement of the rules until disposition under
§ 705 or pursuant to a preliminary injunction).

Respectfully submitted,




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         /s/______                                     /s/______
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